           Case 1:20-cv-03122-JTR                  ECF No. 22        filed 10/06/21       PageID.1653 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action
                                                                                                             FILED IN THE
                                                                                                         U.S. DISTRICT COURT
                                         UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF WASHINGTON

                                                                  for the_
                                                     Eastern District of Washington                 Oct 06, 2021
                                                                                                         SEAN F. MCAVOY, CLERK




                        ELISABETH S.,                                )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:20-CV-03122-JTR
                                                                     )
                                                                     )
 Kilolo Kijakazi, Acting Commissioner of Social Security
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff's Motion for Summary Judgment (ECF No. 18) is GRANTED. Matter is REMANDED to Commissioner of
’
              Social Security for further proceedings pursuant to sentence four of 42 U.S.C. § 405(g).
              Defendant's Motion for Summary Judgment (ECF No. 19) is DENIED.
              Judgment is entered for Plaintiff.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                               JOHN T. RODGERS                               on motions for
      Summary Judgment (ECF Nos. 18 and 19).


Date: October 6, 2021                                                      CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Melissa Orosco
                                                                                          (By) Deputy Clerk

                                                                            Melissa Orosco
